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                               EXHIBIT A
                             TIME DETAIL




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                                                                                                      September 11, 2023

Official Committee of Talc Claimants
In re LTL Management, No 23-12825
United States Bankruptcy Court for the District of New Jersey
                                                                               Invoice Period: 08-12-2023 - 08-31-2023

RE: LTL Management Bankruptcy Official TCC II



Time Details
Date         Professional       Task                                                        Hours        Rate       Amount
08-12-2023   JSM                  L520 - Appellate Briefs                                          1.30 1,160.00     1,508.00
             Drafting outline of appellate brief in response to J&J announcement of appeal.
08-13-2023   JSM                  L520 - Appellate Briefs                                          1.40 1,160.00     1,624.00
             Further drafting outline of appellate brief in response to J&J announcement of appeal.
08-13-2023   RSM                  B160 - Fee/Employment Application                                0.30    860.00      258.00
             Further work on monthly fee statement for July services.
08-14-2023   BV                   L520 - Appellate Briefs                                          0.60    775.00      465.00
             Revising letters to district court regarding appeals to incorporate feedback from J. Lamken and M. Winograd.
08-14-2023   BV                   L520 - Appellate Briefs                                          0.40    775.00      310.00
             Reviewing correspondence from co-counsel for developments to craft potential responses.
08-14-2023   UI                   L520 - Appellate Briefs                                          4.70    485.00    2,279.50
             Research re appellate standard for review of Judge Kaplan's ruling on financial distress.
08-14-2023   BV                   L520 - Appellate Briefs                                          2.40    775.00    1,860.00
             Drafting letters to district court regarding appeals in compliance with dismissal order.
08-14-2023   BV                   L520 - Appellate Briefs                                          0.70    775.00      542.50
             Analyzing dismissal order for the purpose of drafting letters to district court regarding appeals.
08-14-2023   JSM                  L520 - Appellate Briefs                                          0.30 1,160.00       348.00
             Email communication with TCC counsel re strategy for appeal.
08-14-2023   JSM                  L520 - Appellate Briefs                                          1.90 1,160.00     2,204.00
             Further drafting outline of TCC appellee's brief in preparation for CA3 appeal.
08-14-2023   RSM                  L520 - Appellate Briefs                                          0.20    860.00      172.00
             Correspondence with co-counsel re appeal of dismissal order.
08-15-2023   JSM                  L520 - Appellate Briefs                                          2.80 1,160.00     3,248.00
             Further drafting outline of TCC appellee's brief in preparation for CA3 appeal.
08-15-2023   UI                   L520 - Appellate Briefs                                          0.70    485.00      339.50
             Meeting with M. Layden re appellate standard for review of Judge Kaplan's ruling on financial distress.
08-15-2023   BV                   L520 - Appellate Briefs                                          0.20    775.00      155.00
             Conference with R. Hashem and J. Lamken re MTD appeal.
08-15-2023   BV                   L520 - Appellate Briefs                                          0.70    775.00      542.50
             Conference with R. Hashem, M. Winograd, and J. Lamken re MTD appeal.
08-15-2023   RSM                  B160 - Fee/Employment Application                                0.20    860.00      172.00
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             Correspondence with colleagues and co-counsel re final fee applications.
08-16-2023   RSM                  L520 - Appellate Briefs                                           0.80   860.00   688.00
             Conference with co-counsel, committee member, and representatives re appeal next steps.
08-16-2023   RA                   B160 - Fee/Employment Application                                 0.70   320.00   224.00
             Revise third interim monthly fee statement for July 1, 2023 - July 31, 2023.
08-16-2023   UI                   L520 - Appellate Briefs                                           0.90   485.00   436.50
             Meeting with committee and co-counsel to discuss forthcoming legal strategy re Third Circuit appeal.
08-16-2023   ML                   L520 - Appellate Briefs                                           0.90   500.00   450.00
             Attending committee meeting regarding appellate strategy.
08-16-2023   BV                   L520 - Appellate Briefs                                           0.90   775.00   697.50
             Conference with committee members, co-counsel, and representatives regarding appeal strategy.
08-16-2023   JSM                  L520 - Appellate Briefs                                           2.10 1,160.00 2,436.00
             Further drafting outline of TCC appellee's brief in preparation for CA3 appeal.
08-16-2023   JSM                  L520 - Appellate Briefs                                           0.30 1,160.00   348.00
             Email communication with Massey & Gail team re appellate brief.
08-16-2023   JSM                  L520 - Appellate Briefs                                           0.40 1,160.00   464.00
             Email communication with TCC counsel re strategy for appeal.
08-16-2023   JSM                  L520 - Appellate Briefs                                           0.40 1,160.00   464.00
             Email communication with Massey & Gail team re strategy for appeal.
08-17-2023   JSM                  L520 - Appellate Briefs                                           0.40 1,160.00   464.00
             Email communication with Massey & Gail team re strategy for appeal.
08-17-2023   JSM                  L520 - Appellate Briefs                                           0.20 1,160.00   232.00
             Email communication with Massey & Gail team re appellate brief.
08-17-2023   JSM                  L520 - Appellate Briefs                                           3.10 1,160.00 3,596.00
             Further drafting outline of TCC appellee's brief in preparation for CA3 appeal.
08-17-2023   BV                   L520 - Appellate Briefs                                           1.30   775.00 1,007.50
             Formulating arguments for M. Layden and U. Ibrahim to research and draft in appellee response brief.
08-17-2023   BV                   L520 - Appellate Briefs                                           0.40   775.00   310.00
             Revising letters to district court regarding appeals to incorporate feedback from committee counsel.
08-17-2023   UI                   L520 - Appellate Briefs                                           3.00   485.00 1,455.00
             Researching caselaw re basis for reversal pertaining to exceptions to dismissal under 1112(b)(2).
08-17-2023   RSM                  B160 - Fee/Employment Application                                 0.20   860.00   172.00
             Revised fee statement for July services.
08-17-2023   RA                   B160 - Fee/Employment Application                                 0.40   320.00   128.00
             Finalize third interim monthly fee statement for July 1, 2023 - July 31, 2023 for filing.
08-18-2023   BV                   L520 - Appellate Briefs                                           0.10   775.00    77.50
             Correspondence with TCC re filing letters to district court regarding appeals.
08-18-2023   JSM                  L520 - Appellate Briefs                                           4.10 1,160.00 4,756.00
             Further drafting outline of TCC appellee's brief in preparation for CA3 appeal.
08-18-2023   UI                   L520 - Appellate Briefs                                           2.70   485.00 1,309.50
             Researching caselaw re basis for reversal pertaining to exceptions to dismissal under 1112(b)(2).
08-18-2023   BV                   L520 - Appellate Briefs                                           0.10   775.00    77.50
             Instructing local counsel re filing letters to district court regarding appeals.
08-18-2023   BV                   L520 - Appellate Briefs                                           0.40   775.00   310.00
             Discussing research topics for the appeal brief with M. Layden.
08-19-2023   JSM                  L520 - Appellate Briefs                                           0.20 1,160.00   232.00
             Email communication with Massey & Gail team re appellate brief.
08-19-2023   JSM                  L520 - Appellate Briefs                                           2.20 1,160.00 2,552.00
             Revising outline of TCC appellee's brief in preparation for CA3 appeal.
08-20-2023   JSM                  L520 - Appellate Briefs                                           0.30 1,160.00   348.00
             Email communication with Massey & Gail team re appellate brief.
08-20-2023   JSM                  L520 - Appellate Briefs                                           3.30 1,160.00 3,828.00
             Further revising outline of TCC appellee's brief in preparation for CA3 appeal.

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08-21-2023   BV                  L520 - Appellate Briefs                                         6.90       775.00       5,347.50
             Revising appeal brief outline drafted by J. Massey.
08-21-2023   UI                  L520 - Appellate Briefs                                         0.70       485.00         339.50
             Meeting with M. Layden re CA3 cases deferring to lower-court determinations on expert credibility.
08-21-2023   UI                  L520 - Appellate Briefs                                         5.60       485.00       2,716.00
             Researching CA3 cases deferring to lower-court determinations on expert credibility.
08-21-2023   UI                  L520 - Appellate Briefs                                         0.40       485.00         194.00
             Revising motion to dismiss appeal brief outline.
08-21-2023   UI                  L520 - Appellate Briefs                                         0.30       485.00         145.50
             Drafting email communication to J. Massey, B. Vallacher, and M. Layden re CA3 cases reviewing lower-court
             determinations on expert credibility.
08-21-2023   RSM                 B160 - Fee/Employment Application                               0.30       860.00         258.00
             Worked on monthly fee statement for August services, pre-dismissal.
08-21-2023   RSM                 B160 - Fee/Employment Application                               0.10       860.00          86.00
             Correspondence with colleagues re monthly fee statement for August services.
08-21-2023   JSM                 L520 - Appellate Briefs                                         0.30 1,160.00             348.00
             Communication with Massey & Gail team re draft outline of appellees' brief.
08-21-2023   JSM                 L520 - Appellate Briefs                                         0.30 1,160.00             348.00
             Email communication with TCC appellate counsel re appellees' brief.
08-21-2023   ML                  L520 - Appellate Briefs                                         2.90       500.00       1,450.00
             Analyzing draft MTD appeal brief outline.
08-21-2023   ML                  L520 - Appellate Briefs                                         4.30       500.00       2,150.00
             Researching legal issues associated with the appointment of a trustee pursuant to Section 1112
08-22-2023   ML                  L520 - Appellate Briefs                                         1.40       500.00         700.00
             Further researching legal issues associated with the appointment of a trustee pursuant to Section 1112.
08-22-2023   ML                  L520 - Appellate Briefs                                         4.90       500.00       2,450.00
             Drafting memo relating to the appointment of a trustee pursuant to Section 1112.
08-22-2023   UI                  L520 - Appellate Briefs                                         0.80       485.00         388.00
             Meeting with M. Layden re appellate decisions deferring to the district court on findings of financial distress.
08-22-2023   UI                  L520 - Appellate Briefs                                         1.40       485.00         679.00
             Research re appellate decisions deferring to district court findings regarding financial distress.
08-22-2023   RA                  B160 - Fee/Employment Application                               1.10       320.00         352.00
             Draft fourth interim monthly fee statement for August 1, 2023 - August 11, 2023.
08-23-2023   BV                  L520 - Appellate Briefs                                         1.30       775.00       1,007.50
             Drafting memorandum to appellate team regarding cross-appeals.
08-23-2023   UI                  L520 - Appellate Briefs                                         1.00       485.00         485.00
             Meeting with committee and co-counsel to discuss forthcoming legal strategy re possible Third Circuit appeal.
08-23-2023   UI                  L520 - Appellate Briefs                                         0.30       485.00         145.50
             Meeting with M. Layden re the substantive issues discussed in Purdue.
08-23-2023   RSM                 L520 - Appellate Briefs                                         1.00       860.00         860.00
             Participated in weekly conference with co-counsel and committee representatives re appellate issues and
             strategies.
08-23-2023   RSM                 L520 - Appellate Briefs                                         0.30       860.00         258.00
             Correspondence with colleagues re question re scope of appellate work.
08-23-2023   ML                  L520 - Appellate Briefs                                         1.00       500.00         500.00
             Attending weekly committee meeting regarding appellate strategy.
08-23-2023   ML                  L520 - Appellate Briefs                                         0.30       500.00         150.00
             Discussion with U. Ibrahim regarding substantive legal issue being appealed in Purdue case.
08-23-2023   JSM                 L520 - Appellate Briefs                                         0.40 1,160.00             464.00
             Email communication with TCC appellate counsel re appellees' brief.
08-23-2023   ML                  L520 - Appellate Briefs                                         5.30       500.00       2,650.00
             Drafting memo relating to the appointment of a trustee pursuant to Section 1112.
08-23-2023   RA                  B160 - Fee/Employment Application                               0.40       320.00         128.00

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               Work on final fee application.
08-24-2023     ML                   L520 - Appellate Briefs                                         1.70      500.00   850.00
               Further drafting memo relating to the appointment of a trustee pursuant to Section 1112.
08-24-2023     JSM                  L520 - Appellate Briefs                                         0.30 1,160.00      348.00
               Email communication with TCC appellate counsel re appellees' brief.
08-24-2023     RSM                  B160 - Fee/Employment Application                               0.20      860.00   172.00
               Worked on fee statement for August 1-11 services.
08-25-2023     BV                   L520 - Appellate Briefs                                         0.40      775.00   310.00
               Analyzing question from J. Lamken re potential cross-appeals.
08-25-2023     UI                   L520 - Appellate Briefs                                         0.20      485.00     97.00
               Reviewing LTL's notice of appeal circulated by Susan Sieger-Grimm.
08-25-2023     UI                   L520 - Appellate Briefs                                         0.30      485.00   145.50
               Research re appellate decisions deferring to the district court on findings of financial distress.
08-25-2023     RA                   B160 - Fee/Employment Application                               0.70      320.00   224.00
               Finalize for filing Massey & Gail's August 2023 Fee Application.
08-25-2023     JSM                  L520 - Appellate Briefs                                         0.40 1,160.00      464.00
               Email communication with TCC counsel re CA3 appeal schedule and procedure.
08-27-2023     RSM                  B160 - Fee/Employment Application                               0.10      860.00     86.00
               Correspondence with colleagues re final fee application.
08-27-2023     RSM                  B160 - Fee/Employment Application                               0.10      860.00     86.00
               Correspondence with co-counsel re final fee application.
08-29-2023     BV                   L520 - Appellate Briefs                                         0.40      775.00   310.00
               Corresponding with J. Massey re D. Stolz memo.
08-29-2023     JSM                  L520 - Appellate Briefs                                         0.30 1,160.00      348.00
               Email communication with TCC counsel re CA3 appeal schedule and procedure.
08-30-2023     JSM                  L520 - Appellate Briefs                                         0.30 1,160.00      348.00
               Email communication with TCC counsel re CA3 appeal schedule and procedure.
08-30-2023     BV                   L520 - Appellate Briefs                                         0.20      775.00   155.00
               Communicate with J. Massey re weekly meeting with committee and co-counsel re legal strategy for appeal.
08-30-2023     UI                   L520 - Appellate Briefs                                         0.90      485.00   436.50
               Meeting with M. Layden and B. Vallacher to discuss appeal strategy.
08-30-2023     BV                   L520 - Appellate Briefs                                         0.70      775.00   542.50
               Weekly meeting with committee representatives and co-counsel re legal strategy for appeal.
08-30-2023     UI                   L520 - Appellate Briefs                                         0.80      485.00   388.00
               Meeting with committee and co-counsel to discuss forthcoming legal strategy re possible Third Circuit appeal.
08-30-2023     ML                   L520 - Appellate Briefs                                         0.70      500.00   350.00
               Attending TCC committee meeting concerning CA3 appeal strategy.
                                                                                                   Total             73,351.00

Time Summary
Professional                                                                                          Hours          Amount
Bret Vallacher                                                                                         18.10        14,027.50
Jonathan Massey                                                                                        27.00        31,320.00
Matthew Layden                                                                                         23.40        11,700.00
Rachel Morse                                                                                            3.80         3,268.00
Rob Aguirre                                                                                             3.30         1,056.00
Usama Ibrahim                                                                                          24.70        11,979.50
                                                                                              Total                 73,351.00



                                                                                    Total for this Invoice          73,351.00



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